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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION

UNITED STATES OF AMERICA                         §

V.                                               §       CASE NO. 6:16cr17

JASON RAY RAGAN (10)                             §

                 ORDER ADOPTING THE REPORT AND RECOMMENDATION
                     OF THE UNITED STATES MAGISTRATE JUDGE


        By order, the undersigned referred this matter to the Honorable John D. Love, United States

Magistrate Judge, at Tyler, Texas, for administration of a guilty plea under Rules 11 and 32 of the Federal

Rules of Criminal Procedure. Judge Love conducted a hearing in the form and manner prescribed by Federal

Rule of Criminal Procedure 11 and the Honorable John D. Love issued his Report and Recommendation of

the United States Magistrate Judge [Clerk’s doc. #165]. The Magistrate Judge recommended that the Court

accept Defendant’s guilty plea and conditionally approve his plea agreement. He further recommended that

the undersigned finally adjudge Defendant as guilty on Count Twelve of the Indictment against Defendant

in this cause.

        The parties have not objected to the magistrate judge’s findings. The Court is of the opinion that

the Report and Recommendation should be accepted. It is accordingly ORDERED that the Report and

Recommendation [Clerk’s doc. #165] of the United States Magistrate Judge is ADOPTED.


        It is further ORDERED that the Defendant’s guilty plea is accepted and approved by the Court.

Further, the plea agreement is approved by the Court, conditioned upon a review of the presentence report.

It is finally ORDERED that, pursuant to the Defendant’s plea agreement, the Court finds the Defendant

GUILTY of Count Twelve of the Indictment in the above-numbered cause and enters a JUDGMENT

OF GUILTY against the Defendant as to Count Twelve of the Indictment.
          So ORDERED and SIGNED this 21 day of November, 2016.




                                                           ___________________________________
                                                           Ron Clark, United States District Judge
